Case 4:07-cv-05944-JST Document 725 Filed 06/03/10 Page 1 of 4
Case 4:07-cv-05944-JST Document 725 Filed 06/03/10 Page 2 of 4
Case 4:07-cv-05944-JST Document 725 Filed 06/03/10 Page 3 of 4
Case 4:07-cv-05944-JST Document 725 Filed 06/03/10 Page 4 of 4




                                                          S DISTRICT
                                                       ATE           C
        6/3/10                                        T
                                                                                   O
                                                 S




                                                                                    U
                                                ED




                                                                                     RT




                                                                         ERED
                                            UNIT




                                                                 O ORD
                                                     IT IS S
                                                                                        R NIA




                                                                            onti
                                                                     amuel C
                                            NO




                                                              Judge S
                                                                                       FO
                                             RT




                                                                                    LI




                                                     ER
                                                 H




                                                                                   A




                                                          N                        C
                                                                            F
                                                              D IS T IC T O
                                                                    R
